




NO. 07-02-0413-CR

NO. 07-02-0414-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JUNE 3, 2003

________________________________





JEREMIAH CASEY JONES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE CRIMINAL DISTRICT COURT OF JEFFERSON COUNTY;



NOS. 83175 &amp; 83178; HONORABLE CHARLES D. CARVER, JUDGE



_______________________________



Before JOHNSON, C.J., and QUINN and REAVIS, JJ. &nbsp;

MEMORANDUM OPINION

On August 13, 2001, appellant Jeremiah Casey Jones pled guilty in two separate cases to the offense of credit card abuse. &nbsp;Finding the evidence sufficient to support appellant’s pleas, the trial court deferred findings of guilt and placed him on community supervision for a period of four years. &nbsp;At a hearing on the State’s motions to revoke unadjudicated probation on July 26, 2002, appellant pled true to committing a new offense in violation of the terms of his community supervision, and the trial court adjudicated him guilty and sentenced him to two concurrent 18 month sentences. &nbsp;In presenting these appeals, counsel for appellant filed an 
Anders 
brief in support of motions to withdraw. &nbsp;
See
 Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967). &nbsp;Based upon the rationale expressed herein, we affirm. &nbsp;

In support of the motions to withdraw, counsel certifies she diligently reviewed the records and, in her opinion, they reflect no reversible error or grounds upon which an appeal can be predicated. &nbsp;Thus, she concludes the appeals are without merit. &nbsp;In the brief, counsel candidly discusses why, under the controlling authorities, there is no error in the court's judgments. &nbsp;
See
 High v. State, 573 S.W.2d 807, 813 ( Tex.Cr.App. 1978). &nbsp;By the 
brief, the attorney also certifies she provided appellant with a copy of the brief and advised him of his rights to review the records and to file a 
pro se
 brief. &nbsp;To date, appellant has not availed himself of those rights.

According to the records, appellant was granted deferred adjudication for two charges of credit card abuse. &nbsp;On two separate occasions, administrative hearings were held regarding numerous violations of the terms and conditions of community supervision. &nbsp;Shortly after the second administrative hearing, the State filed motions to revoke in both cases alleging three violations. &nbsp;Appellant pled to one of the allegations in each case, and the State abandoned the others. &nbsp;The trial court granted the State’s motions, adjudicated appellant guilty, and assessed as punishment a period of confinement in a state jail facility.

 At the outset, we note the Code of Criminal Procedure expressly denies a criminal defendant the right to appeal from a trial court’s determination to adjudicate guilt. &nbsp;Tex. Code Crim. Proc. Ann. art. 42.12, § (5)(b) (Vernon Supp. 2003); Connolly v. State, 983 S.W.2d 738, 741 (Tex.Cr.App. 1999). &nbsp;Thus, we have no jurisdiction to review the trial court’s order adjudicating appellant guilty. &nbsp;However, we may review all of the proceedings conducted after the adjudication of guilt on the original charge. &nbsp;
See
 Olowosuko v. State, 826 S.W.2d 940, 942 (Tex.Cr.App. 1992). &nbsp;Therefore, an appeal may be had to challenge the assessment of punishment and pronouncement of sentence. &nbsp;Art. 42.12, § (5)(b). &nbsp;

Generally, a penalty imposed within the range of punishment established by the Legislature will not be disturbed on appeal. &nbsp;Flores v. State, 936 S.W.2d 478, 478-79 (Tex.App.--Eastland 1996, pet. ref'd). &nbsp;Appellant was adjudicated guilty on two charges of credit card abuse, a state jail felony with a range of punishment from 180 days to two years. &nbsp;Tex. Pen. Code Ann. §§ 12.35(a), 32.31(b) (Vernon 2003). &nbsp;We find the trial court did not err in assessing as punishment concurrent 18 month sentences on each case. 

Notwithstanding, we have made an independent examination of the entire record to determine whether there are any arguable grounds which might support the appeals. &nbsp;
See
 Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Stafford v. State, 813 S.W.2d 503, 511 (Tex.Cr.App. 1991). &nbsp;We have found no such grounds and agree with counsel that the appeals are without merit. &nbsp;Currie v. State, 516 S.W.2d 684 (Tex.Cr.App. 1974). 

Accordingly, counsel's motion to withdraw is granted, and the judgment of the trial court is affirmed. 

Don H. Reavis

 &nbsp;&nbsp;&nbsp;Justice



Do not publish.


